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June 12, 2017

Hon. Mae D'Agostino
445 Broadway JUN 2 2 2017
Alban NY 12207

y ’ LAWRENCE K. BAERMAN, cLERK
Re: USA v. Lababneh ALBANY

Case No. 1:14-cr-00189-MAD

Dear Judge D'Agostino:

Thank you for allowing me the opportunity to request appointment
of counsel to assist me with the preparation and filing of my 2255
motion. I apologize for failing to address previously some of the
points raised in the Court's decision concerning my initial motion.
AS l am without the financial means necessary to retain private
counsel, nor do l possess the legal knowledge and skills to prepare
and present evidence in this matter, I believe l qualify for appointed
counsel. Additionally, I believe the appointment of counsel for me
serves the interest of justice in my case.

I realize that in order for the Court to find that appointment
of counsel for me serves the interest of justice, it must first
decide whether my "position seems likely of substance." lt is. My
claim for 2255 relief is based on three (3) reasons:

a) my attorney coerced me into entering my guilty plea;

b) my attorney never showed me a copy of my PSR, which indicated
the goverment's calculation of my sentence guideline range; and

c) my attorney failed to adequately present any evidence to
challenge, or depart from, the use of an equivalency ratio of
1:167 for the purpose of calculating my sentence.

Briefly, I will outline why each of these reasons is of substance.
First, I dideant to plead guilty to the charges against me. I wanted

to go to trial. However, I had been held without bail from January, 2014
to August, 2014. During this time, my wife was pregnant with our first
child. My attorney told me that the only way I would be released to be
with her, and m newborn some was to plead guilty. Further, he
instructed me that I had to 'say yes to all the Court's questions"

at the hearing or I would not be released. My attorney knew I was
consumed with anguish over not being there to help my wife during her
pregnancy, and the birth of our child. During very difficultl
conversations with my attorney at this time, he even once slammed my
file to the floor stating "you go to trial, you lose and stay here.'
But, he then said,"if you say yes, you go see your family the same day."

My attorney played on my emotional state to make me do what l did not
want to do. That is coercion.

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Second, after pleading guilty, my attorney promised to show me my
PSR, which indicated the government's calculation of my sentence. He
never showed me this document because he did not wnat me to see the
lengthy sentence that the government had determined in my case. My
attorney knew that I would never have pled guilty if I knew that l
faced such a long sentence. When I repeatedly asked what my sentence
would be, he merely said, llyou have a young son, you won't serve a
long sentence." He also said, "don't worry about any ratio issues
because "for sentencing there is no difference between 1 kilogram and
100 kilograms." I wasn't quite sure what he meant by that, but l knew
he said it to diminish my objections to the guilty plea. My attorney
mislead me with this information as l later learned the equivalency
ratio mattered a great deal, especially since the Court applied a 1:167
ratio.

Third, my attorney never objected to, nor provided any evidence
for a departure from, the 1:167 equivalency ratio. As this Court knows,
l filed a direct appeal of the judgment against me. That appeal was
denied. In its decision, the Court of Appeals noted that my attorney
failed to show any evidentiary support that XLRll (the substance that
I was charged with possessing) was more closely related to marijuana
than THC. Further, my attorney did not provide any scientific, or other,
evidence to support a variance or departure from the use this equivalency
ratio. lt was my attorney's job to do these things. He failed to do so
and his failure was ineffective assistance to me.

This Court has graciously provided guidance to me as to the points
it must then consider should it decide my claims seem likely of substance.
l will try to address each of these as best l can.

1) Ability to investigate claims. I cannot adequately investigate
my claims on my own. T am currently incarcerated. Therefore, l am
extremely limited in being able to access files, obtain records, prepare
affidavits or statements to support my 2255 relief motion. The issues
surrounding the equivalency ratio alone are complex and daunting to me,
let alone the legal process necessary to prove my attorney's coercive
behavior. Further, l may have to provide technical evidence to indicate a
lower ratio should have, or would have been used in my case had my
attorney adequately presented that to the Court.

2) Whether conflicting evidence implicates the need for cross
examination. I do not believe my former attorney will voluntarily admit to
the methods he employed to coerce me into pleading guilty. l do not
believe my former attorney will admit his failure to provide me a copy
Of my PSR was meant to withhold information about the lengUly sentence
that l faced once I pled guilty. I do not believe my former attorney
will admit that he failed to adequately prepare and present evidence to
reduce the equivalency ratio in my case. l will need counsel to examineis

 

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this attorney under oath. He is trained in such process. I am not.
Therefore, I need trained counsel to be able to engage the legal
process, which includes cross examination, to bring out the truth.

3) The indigent's ability to present the case. l am not auburn
American. I was born, raised, and educated in Jordan. My first language
is Arabic. I am not well versed in the American legal system. I do not
feel I am completant with the language and legal skills necessary to
present my claims to the Court. Appointed counseU will be able to assist
me in both areas. Appointed counsel will also be able to effectively
investigate and gather facts that l cannot do so because of my incarceration.

4) The complexity of the legal issues. To me, all the issues involved
in this case are complex. As I said previously, I do not understand the
legal process well. l have no expertise in how sentencing guidelines
are calculated. And, l did not know, until l read in the decision on my
appeal, that my attorney could have, and should have, raised issues about
the equivalency ratio used in my case. I do not even know how to begin
to address the types of evidence necessary in seeking a departure or
Variance from the 1:167 ratio. But l do know that I should have been
allowed to do so. Further, l must presume that my attorney will deny any
wrongdoing and use every means to thwart my efforts to obtain 2255 relief.
So, all l can say is these matters are complex to me and l need help. I
hope this Court recognizes that and provides me with assistance.

5) Any special reason why appointment of counsel would likely lead
to a just determination. I am not sure how to address this except from my
heart. To reach a just determination in this matter, I beseech you to see
my request from that point of view of a father and a husband desparate to

child. My attorney did not want to try this case. Quite frankly, he wanted
to be rid of it. At this time I was distraught at being away from my wife
while she was pregnant. I was distraught at not being with her when our

Son was born. I was distraught at not being able to see my son for his
first days of life. When my attorney offered me the means of being reunited
with them, I said what he wanted me to say. I said "yes to all the Court's
questionsu" I must now convince this Court that my attorney coerced me into
doing so$"failed to effectively assist me. I need counsel to undo this
injustice, which has me incarcerated for a lengthly sentence. l pray that
this Court recognizes that a just determination in my case is more likely
to arrive with the assistance of appointed counsel.

For all the reasons stated above, I hope this Court determines that

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l have satisfactorily met its requirements for the appointment of
counsel in this matter. Thank you for your consideration and
assistance.

Respectfully,
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Abdelmmqji K. Lababneh

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